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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIR E



United States of America

           V.                            Criminal No . 07-cr-252-01-J D

Eduardo K . Fernandez-Avalos


                                O R D E R



     The assented to motion to reschedule jury trial (document no .

40) filed by defendant is granted . Trial as to co-defendant Maria

C . Rosario is also continued .

     Defendant shall file a waiver of speedy trial rights within 10

days . The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U .S .C . § 3161 (h) (8) (B) (iv) ,   for the

reasons set forth in the motion .

      SO ORDERED .




                                         /s/ Joseph A . DiClerico, Jr .
                                         Joseph A . DiClerico, Jr .
                                         United States District Judg e

Date : July 24, 200 8




cc : Martin Leppo, Esq .
      Paul Twomey, Esq .
      U .S . Marsha l
      U .S . Probation
      Steven Gordon, Esq .
      William Christie, Esq .
      Mark Irish, Esq .
